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lN THE UN|TED STATES D|STRlCT COURT
lVllDDLE DlSTR|CT OF FLOR!DA
OCALA DlVlSlON

VV|LL|Al\/l B|GGE, et al.
Plaintiffs,

VS. Ci\li| ACtiOh NO. 5113-Cv-49-OC-10_-F’Rl_

DlSTR|CT SCHOOL BOARD OF
C|TRUS COUNTY, FLOR|DA

Defendant
/

DEFENDANT’S RESPONSE AND NlEN|ORANDUM OF LAW TO PLAlNTlFFS'
MOT|ON TO STR|KE DEFENDANT’S MOTION FOR SUNINIARY JUDGIV|ENT OR, lN
THE ALTERNAT|V|§,LAINT|FF’S NIOT|ON FOR LEAVE TO SUPPLEN|EN THE|R IN
OPPOSlTlON TO DEF§_l_\_|_DANT’S MOT|ON FOR SUIV||\llARY JUDGN|ENT (sic)
CO|V|ES NOVV Defendants, by their undersigned attorneys, in response to
P|aintiffs’ lVlotion to Strike Defendant’s Nlotion for Summary Judgment or, in the
alternative, P|aintiff’s lVlotion for Leave to Supp|ernen Their ln Opposition to Defendant’s
Nlotion for Summary Judgment. (sic). ln support thereof, Defendant states as folloWs:

'l. Plaintiffs’ motion should be denied because it presents no evidence of
scandalous conduct, it fails to create any issue of fact, and it is procedurally
deficient

2. P|aintiffs’ motion contains a number of offensive accusations against
Defendant and its undersigned counsel, but even a cursory examination of

the accusations and materials cited by Plaintiffs’ counsel in support of these

scandalous accusations reveal that they are without merit and are simply the

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latest in a string of efforts to delay this Court’s ruling on Defendant’s l\/lotion
for Sumrnary Judgment.

3. Plaintiffs’ motion should also be denied on the independent basis that it fails
to create a genuine dispute as to any material fact pursuant to Ru|e F.R.C.P.
56(a). Nothing contained in the transcripts Plaintiffs attached to their motion
is legally admissible evidence lnstead, it is the mental impressions of
undersigned counsel analyzing and explaining the claims filed by Piaintiffs’
daughters in the prior lawsuit Because the attorney-client sessions are
privileged and inadmissible as evidence. nothing contained in Plaintiffs’
motion creates a genuine issue of material fact to prevent summary judgment
from being entered for Defendant.

4. There are a number of procedural deficiencies With Plaintiffs’ motion including
that it is late, filed during the court’s order of stay in this action, without a Ru|e
3.01(g) consultation, and does not contain a memorandum of law as required
by 3.01(a).

5. For all the foregoing reasons, independently and collectively1 Plaintiffs’ motion
to strike should be denied and summary judgment should be entered in favor
of Defendant forthwith

l. No Scandalous Conduct Exists

1. Plaintiffs’ motion contains allegations of the most serious category against
Defendant and undersigned counsel. See Paragraph Two of P|aintiffs’
motion However, Plaintiffs' motion does not support these serious

allegations with any substantial facts lnstead, P|aintiff cites to several

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portions of attorney-client privileged “shade sessions” between undersigned
counsel and the Citrus County School Board that were held pursuant to
Florida Statute § 286.0011(8). During this closed to the public meeting,
undersigned counsel laid out the claims being made against the Citrus
County School Board by Ange|ica Seaman, Stacey Bigge and Katie Bigge,
who are the daughters of the Plaintiffs in the current action As part of this
effort, undersigned counsel necessarily had to articulate the claims being
made against Defendant as well as assess the relative risk associated With a
jury finding any of those claims to be credible Nevertheless, Plaintiffs’ motion
to strike suggests that this process is tantamount to adopting the truth of all of
the allegations made at various times by Plaintiffs in the underlying case as
well as this case currently before the Court. Of course, this Court
understands that attorneys on a daily basis explain their opponents
arguments without adopting the truth of those arguments This fundamental
concept is self-evident without resort to a review of the attached transcripts
However, even a casual review of the transcripts themselves makes it
abundantly clear that Plaintiffs’ allegations are not supported by fact or law
and are simply not credible The transcripts do not contain any shred of
evidence that Defendant or its attorney engaged in fraudulent conduct.
Plaintiffs’ counsel should be ashamed to suggest otherwise

2. Furthermore, Plaintiffs’ motion to strike Defendant’s motion for summary
judgment is simply the latest effort by P|aintiffs to avoid entry of summary

judgment against them. See docket number 9, 13, 20 and 73. Plaintiffs have

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engaged in other delaying tactics such as bringing claims for intentional
conduct under state law that Plaintiffs knew were meritless (docket number
39), requested an extension of time to file a report by an expert (docket
number 25) Which P|aintiffs subsequently agreed to have stricken (docket
number 61), and have been sanctioned by the Court for failure to timely
respond to Defendant’s discovery requests (docket number 49). ln summary1
Plaintiffs have an extensive pattern of asserting positions which are not
supportable and attempting by any means available whether allowed by the
Federal Rules of Civil Procedure or not, to avoid the consequences of
Defendant’s motion for summary judgment
ll. Plaintiffs’ Nlotion to Strike Creates No lssues of Fact or Law

1. Plaintiffs’ motion to strike should be denied because the issue of the
transcripts is a classic red herring designed to distract the Court from the fact
that Plaintiffs do not have standing to bring this action under Title iX. As
described in Defendant’s Response in Opposition to Plaintiffs’ l\/lotion to Stay
Ruling on the Schoo| Board’s lVlotion for Summary Judgment with Attached
i\/lemorandum of Law (docket number 75), the issue of the shade session
transcript has no applicability to the correctness of an order granting
Defendant’s motion for summary judgment Simply put, parents of students
are not parties protected by Title lX, and therefore do not have standing to
bring a cause of action for retaliation under Title |X. Defendant has cited to
the Court more than fifteen cases that stand for this proposition See e.g.

Doe v. Ovster River Co-Op. Sch. Dist. 992 F.Supp., 467, 481(D.N.i-l. 1997)

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(recognizing that only participants of federally funded programs-and not the
participants' parents-have standing to bring ciaims under Title lX.) |n
opposition, P|aintiffs have been unable to provide any case law in the Title lX
context which supports recovery by a parent for retaliation Therefore,
nothing contained in the shade session transcripts can create a federally
recognized cause of action for retaliation under Title lX when that right does
not presently exist for these Plaintiffs.

2. l:urthermorel nothing in transcripts contains legally admissible evidence The
mental impressions of Defendant’s lawyer while advising his client of the
allegations being made against it fails to qualify under any of the Federal
Rules of Evidence. l\Aost specifica||y, this kind of consultation fails the test for
relevant evidence under Rule 401, Rule 402, and Rule 403, as Well as all the
rules pertaining to hearsay, especially Rule 802 of the Federal Ru|es of
Evidence. At no point during any of the shade sessions did |, as undersigned
counsel for the Defendant, while advising my client, adopt the truth of any of
the allegations made by F’laintiffs in the underlying action.

3. Fina|ly1 the contents of the shade session transcripts also fail to create any
genuine issues of material fact regarding any of the other arguments made in
the various motions to dismiss and for summary judgment filed in this action
by Defendant See docket number 6 and docket number 54.

l|l. Procedural Deficiencies
1. P|aintiff claims that their motion to strike should be permitted pursuant to

Federal Rule of Civil Prooedure 12(f). Nevertheless, pursuant to sub part 2 of

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that rule, Plaintiffs’ time for filing this motion is approximately one year
overdue Piaintiffs’ claim that the rule should be ignored due to allegedly
scandalous conduct by the undersigned counsel and Defendant is Without
merit as shown above and completely unsupported by any legal authority
identified by Plaintiff.

2. Plaintiffs’ motion to strike was filed Without leave of Court after the Court had
entered a stay of this action so that the Court would have the opportunity to
rule on the pending motions for summaryjudgment.

3. Plaintiffs’ attorney acknowledges that she has failed to comply With lV|iddle
District Rule 3.01(g). Plaintiffs failed to engage in any attempt at a good faith
conference to resolve issues in this motion, which is a basis for denying the
relief sought

4. Fina|ly, Plaintiffs have failed to comply with l\/liddle District Rule 3.01(a) and
provide any memorandum of law or legal authority for the statements
contained in the motion. Particulariy in this case, Plaintiffs’ failure to cite to
any legal authority for the positions taken in the motion points more directly to
Plaintiffs’ inability to legally support the claims and arguments made in this
case

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Only in very rare circumstances is it possible to assign the statements of legal
counsel to a party. Such judicial admissions are limited to circumstances such as
opening statements When a Court can consider a judicial admission “is restricted to

unequivocal statements as to matters of fact which would othenivise require evidentiary

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proof; it does not extend to counsel’s statement of his conception of the legal theory of a
case.” Hail v. Wal-l\/lart Stores East, LP 447 F.Supp.2d 604, 608 (VV.D.V.A. 2006)(citing
30A Wright and Graham, Federal Practice and Procedure § 7026(2000)). Because the
shade session between undersigned counsel and Defendant does not meet the
stringent requirements of a judicial admission, the statements cannot be used in any
context in this action Defendant reasserts all of the arguments and legal authority
contained in its motion to dismiss the complaint and to strike paragraphs of Plaintiffs’
complaint which has been treated by this Court as a motion for summary judgment
(docket number 6, 54, and 58). Defendant in particular would point the Court to
Defendant’s response in opposition to Plaintiffs’ motion to stay a ruling on School
Board’s motion for summary judgment With attached memorandum of law (docket
number 75). The legal argument in the cases cited therein addresses the same issues
pending before the Court in Plaintiffs’ motion to strike Put simp|y, whether Plaintiffs are
in possession of the shade session transcripts or not does not alter the fact that
Plaintiffs are without standing to bring a cause of action for Title |X retaliation and for the
other reasons cited in Defendant’s motions for summaryjudgment. This case should be

dismissed with prejudice

CERTlFlCATE OF SERVlCE

l HEREBY CERT|FY that on this B day of lVlarch, 2014, a true and correct
copy of the foregoing Was served via the Court’s Cl\/l/ECF system and U.S. First Class
l\/lail to Andrea Armas, Esq., Jaspon & Armas, P.A., 301 S. Orlando Ave., VVinter Park,
FL 32789.

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DELL GRAHA|V|, P.A.

 

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